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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 05-0235CCC
 1) OMAR MARRERO-CRUZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 2) CARLOS OLIVERAS-GONZALEZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 3) SAMUEL BRISTOL-MARTIR
 (Counts 1, 6, 7, 8, 9, 10)
 4) ALVIN FLORES-BOSQUEZ
 (Counts 1, 6, 7, and 8)
 5) FRANCISCO SANTIAGO-ALBINO
 (Counts 1, 9 and 10)
 6) JAMILL AGUILA-BARRIOS
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 Defendants
                                         ORDER
       Defendant Omar Marrero-Cruz, who was sentenced on August 25, 2010 to serve a
term of imprisonment of 195 months after pleading guilty to Counts One and Three of the
Superseding Indictment (docket entry 132) following a remand for a new trial, filed on August
27, 2010 a Motion To Reconsider §3B1.1(a) Enhancement (docket entry 538). In brief,
defendant in said Motion asks the Court to revisit its finding that defendant’s leadership role
warrants a four-point upward enhancement to his base offense level under U.S.S.G.
§3B1.1(a).1 In support, defendant claims that at his original sentencing only a two-point
upward adjustment for his supervisory role was applied under U.S.S.G. §3B1.1(c), and
argues that given the scope of the criminal activity required to impose the harsher
enhancement--that it “involved five or more participants or was otherwise extensive”--it is
inapplicable to him.     While he recognizes that the offense involved a total of six



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          U.S.S.G. §3B1.1(a) provides: “If the defendant was an organizer or leader of a
criminal activity that involved five or more participants or was otherwise extensive, increase
by 4 levels.”
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coconspirators, defendant avers that “there were only four (4) defendants that could have
been lead by [him].” Motion, at p. 4. Thus, he concludes, “the magic number of 5 cannot
be reached.” Id.
       Defendant’s motion is flawed in many respects. For one thing, his whole argument
during sentencing and now post-sentencing seeks to defeat the stipulation he reached with
the government as part of his Plea Agreement that called precisely for application of the
four-point upward adjustment under §3B1.1(a). See Plea Agreement (docket entry 441), at
p. 4, ¶ 7(b).
       That notwithstanding, all elements necessary for the application of the adjustment are
present in this case. As defendant correctly recognizes in the motion, “[i]n order to invoke
§3B1.1(a), a district court must make a finding as to scope--that the criminal activity involved
five or more participants or was otherwise extensive--and a finding as to status--that the
defendant acted as an organizer and leader of the criminal activity.” United States v. Arbour,
559 F. 3d 50, 53 (1st Cir. 2009) (citing United States v. Tejada-Beltrán, 50 F.3d 105, 111 (1st
Cir. 1995). The trial evidence abundantly established both prongs, and it is telling that
defendant has admitted that much. As to status, although defendant now attempts to
downplay his role in the offense (see Motion, at ¶ 8), the Statement of Facts which
accompanied his Plea Agreement and was expressly adopted by him (see Plea Agreement,
at p. 7, ¶ 12) is conclusive: “Defendant Omar Marrero-Cruz acted as one of the leaders for
the organization. As a leader the defendant would supervise other members of the
organization and would recruit other police officers to give protection to the narcotics.”
(Emphasis ours.) As to scope, it has been repeatedly held that while the overall criminal
activity must involve five or more participants or be otherwise extensive, defendant needs
only to have led or organized one criminal participant, besides himself, to qualify as a leader
or organizer under §3B1.1(a). United States v. Arbour, 559 F.3d at 56-57. Thus, defendant
is mistaken when he alleges that he must have led or organized at least four others in order
to qualify for the §3B1.1(a) enhancement.          Since the offense involved at least five
participants, a fact established beyond peradventure by the trial evidence and which
defendant has recognized in the Motion, and he led at least one of those participants, as
reflected by the Statement of Facts admitted by him as part of his Plea Agreement, all the
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required elements for the application of §3B1.1(a) are present here. Accordingly, the
enhancement was correctly applied to defendant Marrero-Cruz during his sentencing and,
consequently, his Motion To Reconsider §3B1.1(a) Enhancement (docket entry 538) is
hereby DENIED.
      SO ORDERED.
      At San Juan, Puerto Rico, on September 28, 2010.




                                              S/CARMEN CONSUELO CEREZO
                                              United States District Judge
